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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-1868V
                                         UNPUBLISHED


    THOMAS TIVER, JR.,                                        Chief Special Master Corcoran

                         Petitioner,                          Filed: September 27, 2022
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Guillain-Barre Syndrome (GBS)
                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Nina Ren, U.S. Department of Justice, Washington, DC, for Respondent.

                                    RULING ON ENTITLEMENT1

       On September 17, 2021, Thomas Tiver, Jr. filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (“GBS”), a
defined Table injury, after receiving an influenza (“flu”) vaccine on November 15, 2018.3
Petition at 1, ¶¶ 2, 28. Petitioner further alleges that he received the vaccine within the
United States, suffered the residual effects of his GBS for more than six months, and that
neither he nor any other party has filed a civil action or received compensation for his
GBS. Petition at ¶¶ 29-31. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3
 Petitioner also received a tetanus, diphtheria, acellular pertussis vaccine. Petition at ¶ 2; Exhibit 9 at 55-
56.
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        On September 26, 2022, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent believes that “[P]etitioner has satisfied the criteria
set forth in the Vaccine Injury Table and the Qualifications and Aids to Interpretation.” Id.
at 7. Respondent further agrees that “based on the record as it now stands, [P]etitioner
has satisfied all legal prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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